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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 MIKHAIL FRIDMAN,              PETR    AVEN,      and
 GERMAN KHAN,

                Plaintiffs,                                Civil Case No. 1:17-cv-2041-RJL

        v.

 BEAN LLC a/k/a FUSION GPS, and GLENN
 SIMPSON,

                Defendants.


   DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION FOR REASONABLE
        EXPENSES INCURRED IN MOVING TO COMPEL DISCOVERY

       The rules of discovery in the federal courts are intended to encourage “open and forthright

sharing of information by all parties to a case with the aim of expediting case progress, minimizing

burden and expense, and removing contentiousness as much as practicable.” United States v. All

Assets Held at Bank Julius Baer & Co., Ltd., No. 04-cv-798 (PLF/GMH), 2019 WL 1167743, at

*6 (D.D.C. Mar. 13, 2019) (quoting, in parenthetical, Bd. of Regents of Univ. of Neb. v. BASF

Corp., No. 4:04 CV 3356, 2007 WL 3342423, at *5 (D. Neb. Nov. 5, 2007)). Plaintiffs, throughout

this litigation, have failed to conduct themselves in accordance with these aims. This conclusion,

long in evidence, has become inescapable in light of Plaintiffs’ recent admission that they were, in

fact, already in possession of a significant number of responsive documents from Alfa and

LetterOne, see Opposition to Defs.’ Mot. for Reasonable Expenses, ECF No. 159, at 23-24

(“Opposition”), even as they repeatedly insisted to Defendants and this Court that they had no such

documents and were unable to obtain them from the companies.

       Plaintiffs’ unwillingness to abide by the rules of discovery are the reasons Defendants had

no choice but to file a pair of motions seeking to compel Plaintiffs to produce the requested
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corporate records, produce additional categories of responsive documents that Plaintiffs withheld

without substantial justification, and review their documents for material that bears on Defendants’

affirmative defenses in this case. Having now granted both of those motions in full, this Court

must award Defendants their reasonable expenses in making the motions, unless Plaintiffs satisfy

their burden of establishing that an award is impermissible under Rule 37(a)(5)(A)(i)-(iii).

Plaintiffs have failed to meet their burden.

       Plaintiffs’ opposition brief was deficient in several respects. First, Plaintiffs simply

regurgitated their meritless excuses for not producing documents at the companies they co-

founded, collectively own and control. In addition, Plaintiffs utterly failed to address the Court’s

Order granting Defendants’ motion to compel production of pre-2016 documents relevant to

Defendants’ defense that the alleged defamatory statements are substantially true and that

Plaintiffs are public figures (except to misrepresent that Plaintiffs did not object to the production

of those documents, when they did). Plaintiffs also rehashed their rejected reasons for not

producing the Kroll Report, the Spanish investigation documents, the UK litigation documents,

and Plaintiff Aven’s grand jury material. Plaintiffs’ brief exposes that their reasons for withholding

these documents were nothing more than contrivances designed to flout their Rule 34 obligations.

       In their opposition, Plaintiffs invoke other smokescreens to distract from their knowing

recalcitrance. First, although Defendants’ counsel engaged with Plaintiffs’ counsel over several

months to negotiate the production of Plaintiffs’ documents at Alfa, Plaintiffs now argue based on

no supporting facts that Defendants rushed to Court with their motions to compel. Plaintiffs’

argument makes no sense. Second, Plaintiffs should not be rewarded for their failed attempts to

pressure Defendants to negotiate with Alfa (instead of Plaintiffs themselves), regarding Plaintiffs’

Rule 34 obligations. Third, Plaintiffs make the baseless assertion that Defendants’ right to a




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reimbursement of costs for having to litigate the two motions to compel granted in full by the Court

is somehow nullified because the Court separately granted in part and denied in part a motion to

compel that Plaintiffs filed. That is not how Rule 37 works.

                                         BACKGROUND

         Plaintiffs’ Opposition mischaracterizes the record in this case and attempts to obfuscate

this Court’s holdings. Accordingly, Defendants offer a brief point of clarity.

    1.      The Court rejected Plaintiffs’ claims about control and relevance and granted in
            full both of Defendants’ Motions to Compel.

         Plaintiffs were ordered by the Court to produce “all responsive Alfa documents.” Order

(Mar. 30, 2021). In so doing, the Court has held that Plaintiffs have possession, custody, or control

of the Alfa documents responsive to Defendants’ document requests.1 That decision is controlling

in this case. Plaintiffs, throughout their opposition, attempt to sidestep and undermine that Order

by claiming they have now produced Alfa documents only because Alfa “relented and permitted

them to do so.” Opposition at 1.2 Plaintiffs’ efforts to relitigate a binding decision of this Court by

claiming continued lack of control are meritless. Id. at 1-10.




1
  “Alfa,” as used throughout Defendants’ briefing, includes Alfa-Bank, LetterOne and the
corporate progeny of Alfa Group, the conglomerate of multi-national entities founded by Plaintiff
Fridman in 1989. See ECF No. 156-2, Memorandum in Support of Defs.’ Motion for Reasonable
Expenses at 5, n.2 (“Defs.’ Mem.”)
2
  Although the Court found otherwise, Plaintiffs still seem to be claiming that the vast majority of
documents at the Alfa entities are within Alfa’s control, and neither they nor their counsel have
possession or custody of such documents. Defendants are therefore left to presume that Plaintiffs
and their counsel have never reviewed relevant documentary evidence in this case prior to filing
this defamation suit. Inasmuch as this is the case, it is questionable how Plaintiffs’ counsel met
their obligation to ensure the complaint’s claims are, to the best of their “knowledge, information,
and belief, formed after an inquiry reasonable under the circumstances,” based on factual
contentions that “have evidentiary support,” Fed. R. Civ. P. 11, including but not limited to their
claim that the alleged defamatory statements in CIR 112 are false. In the event Plaintiffs did not
meet those obligations, they should not be permitted to proceed with their case.


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       The Court also rejected Plaintiffs’ objections to searching for and producing documents

bearing on Plaintiffs’ public figure status and Defendants’ interpretation of statements in CIR 112.

Plaintiffs’ Opposition attempts to erase their unsupported objections from the record of this case.

Here, Plaintiffs claim they “did not withhold any such documents on relevance grounds,”

Opposition at 10 (emphasis in original), but in their Opposition to Defendants’ Motion to Compel,

Plaintiffs made repeated objections to producing their documents consistent with Defendants’

interpretation of the issues in this case, based on a relevance objection. See ECF No. 105 at 7

(“Defendants’ motion . . . require[s] the production of irrelevant documents. Plaintiffs, as masters

of their complaint, have primarily sued Defendants for publishing statements that allege Plaintiffs’

purported misconduct in 2016. Accordingly, documents created before 2016 would not supply

evidence of the truth or the falsity of those allegations.”). The Court considered those objections,

granted Defendants’ motion in full, and ordered Plaintiffs to perform searches consistent with

Defendants’ interpretation of relevance.

       Plaintiffs have not shown that their withholding of documents falls within any of the

exception in Fed. R. Civ. P. 37(a)(5)(A).

                                            ARGUMENT

       Defendants’ motion for reasonable expenses seeks nothing other than a rote application of

Rule 37(a)(5)(A). Plaintiffs’ argument that it somehow would not be “sensible and proper” to grant

the motion betrays a fundamental misunderstanding of the rule. See Opposition at 3.

       Rule 37(a)(5)(A) states that, after granting a motion to compel in full, “the court

must . . . require the party . . . whose conduct necessitated the motion, the party or attorney

advising that conduct, or both to pay the movant’s reasonable expenses incurred in making the

motion, including attorney’s fees,” unless the court determines that one of three expressly




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enumerated exceptions applies.3 Fed. R. Civ. P. 37(a)(5)(A) (emphasis added). The Rule’s

exceptions are as follows:

         (i) the movant filed the motion before attempting in good faith to obtain
         the disclosure or discovery without court action;
         (ii) the opposing party’s nondisclosure, response, or objection was
         substantially justified; or
         (iii) other circumstances make an award of expenses unjust.

Id. The burden rests with the party who opposes the imposition of a fees award to persuade the

Court that an exception precludes Defendants’ recovery. See Sigma-Tau Industrie Framaceutiche

Riunite, S.P.A. v. Lonza, Ltd., 106 F. Supp. 2d 8, 12 (D.D.C. 2000).

    I.       Defendants Are Entitled to an Award of Expenses for Moving to Compel
             Production of Plaintiffs’ Alfa Documents, as Plaintiffs Have Failed to Establish
             Any Basis for Denying Recovery Under Rule 37(a)(5)(A).

         It is Plaintiffs’ burden to establish that Defendants are not entitled to recover the reasonable

expenses incurred in moving to compel Plaintiffs to produce their corporate documents. See

Alexander v. FBI, 186 F.R.D. 144, 147 n.2 (D.D.C. 1999) (“[T]he burden of persuasion rests upon

the party that filed the losing motion to compel.”). Plaintiffs have not met their burden. First, they

cannot establish that their opposition to the motion to compel production of Alfa documents was

substantially justified, as there were no legitimate grounds for refusing to produce discoverable

material that had already been obtained and produced in separate legal proceedings. Second, there

can be no question that Defendants—through four months of diligent outreach to Plaintiffs’

counsel—made ample efforts to resolve the dispute before filing the motion.



3
  Plaintiffs’ Opposition misstates the rule. See Opposition at 14. First, Plaintiffs fail to recognize
that “the language of the Rule itself is mandatory, dictating that the Court must award expenses
upon granting a motion to compel disclosure unless one of the specified bases for refusing to make
such an award is found to exist.” Cobell v. Norton, 226 F.R.D. 67, 90 (D.D.C. 2005). Second,
Plaintiffs incorrectly imply that the Court may, in its discretion, decline to award expenses even if
none of the enumerated exceptions has been found to apply.


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           A. Plaintiffs’ Refusal to Produce Documents They Had Already Submitted in
              Another Legal Proceeding Cannot Possibly Be Substantially Justified.

       Buried in the middle of Plaintiffs’ Opposition is a stunning admission: Plaintiffs had

already obtained an unspecified number of the same corporate documents at issue in this dispute

and had already produced them in separate legal proceedings in the United Kingdom. See

Opposition at 23-24.

       The implications of this acknowledgment are difficult to overstate. Above all else, it shows

that Plaintiffs were not being forthcoming when they averred, both in private correspondence with

defense counsel and in filings submitted to this Court, that they lacked possession, custody, or

control of these documents. See Ltr. from A. Lewis to J. Levy (May 15, 2020), ECF No. 78-13, at

2; ECF No. 84, at 1 (insisting that “Plaintiffs do not own or control the Companies’ documents”).

For months, Plaintiffs insisted, falsely, that the only way they could produce the documents was if

Alfa and LetterOne agreed to turn the documents over to them,4 when, in fact, the companies had

already done so.

       Plaintiffs’ lack of candor had real consequences, both for the parties and for the Court. If

not for Plaintiffs’ charade, Defendants never would have had to move to compel Plaintiffs to

produce the documents, would have received the documents a year earlier, and the Court would

never had had to spend time reviewing the motion and ruling on it. In short, Plaintiffs mired the

parties in a prolonged discovery dispute that left Defendants with no choice but to seek this Court’s

intervention. This is exactly the sort of conduct the Rule 37(a)(5)(A) cost-shifting mechanism was

designed to deter. See LM Ins. Corp. v. ACEO, Inc., 276 F.R.D. 592, 592-93 (N.D. Ill. 2011)




4
  See, e.g., Ltr. from A. Lewis to J. Levy (Mar. 12, 2020), ECF No. 78-8, at 5 (“Plaintiffs confirm
that they do not have a legal right to obtain responsive documents from Alfa or any of the Other
Entities.”).

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(awarding expenses against a corporate party whose counsel had failed to ask company executives

or employees to search for certain requested documents).

          It is simply incredible that Plaintiffs continue to deny they had any obligation to comply

with Defendants’ discovery request, even after acknowledging that they had already obtained the

documents in question. The rules are clear and straightforward: “Federal Rule of Civil Procedure

34(a)(1) provides that, upon a request, a party must produce discoverable records in its ‘possession,

custody, or control.’” Harris v. Med. Transp. Mgmt., Inc., No. 17-cv-01371 (APM), 2018 WL

11247600, at *1 (D.D.C. Aug. 28, 2018) (quoting Fed. R. Civ. P. 34(a)(1)). “‘Control,’ for

purposes of the rule, means ‘the legal right, authority or ability to obtain documents upon

demand.’” Id. (quoting U.S. Int’l Trade Comm’n v. ASAT, Inc., 411 F.3d 245, 254 (D.C. Cir.

2005)).

          To claim, as Plaintiffs do, that the requested Alfa documents were not in their “possession,

custody, or control,” even after Plaintiffs produced them in the UK proceedings, strains all

credibility. There can be no doubt that Plaintiffs, at the very least, had the practical ability to obtain

the documents from their own lawyers in the UK litigation. It is therefore inarguable that Plaintiffs

had “control” over these documents throughout their months-long correspondence with

Defendants and their briefing before the Court. See Am. Soc’y for Prevention of Cruelty to Animals

v. Ringling Bros. & Barnum & Bailey Circus, 233 F.R.D. 209, 212 (D.D.C. 2006) (“Because a

client has the right, and the ready ability, to obtain copies of documents gathered or created by its

attorneys pursuant to their representation of that client, such documents are clearly within the

client’s control.”). Any assertions to the contrary cannot possibly be substantially justified.

          Plaintiffs attempt to relitigate the issue, again claiming that they could not produce the

documents because Alfa and LetterOne would not provide the necessary access. Yet this claim (if




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it were ever true) is a distraction. Plainly, Plaintiffs did not need the companies to offer them access

to many of the requested documents, because Plaintiffs already had access to those documents.

        Plaintiffs, moreover, as Defendants have repeatedly noted, are the ultimate beneficial

owners and controlling shareholders of Alfa, and the documents were within their control. See

ECF No. 78 at 8-11. Plaintiffs have never denied that, collectively, they had the authority and

practical ability to obtain the documents from their own companies. ECF No. 89 at 1. That

Plaintiffs never tried to exercise this authority—and, indeed, submitted no sworn affidavits

attesting that they lacked such authority—is telling.

        This dispute did not present any novel questions of law, as Plaintiffs would have this Court

believe. See Opposition at 19-21. For all of Plaintiffs’ counsel’s efforts to identify out-of-circuit

cases “holding that merely being an officer or stakeholder in a corporate entity does not establish

possession, custody or control,” Opposition at 21 (citing two inapposite cases from the US district

court in Kansas), none of those cases has any relevance to the circumstances at hand. Among the

Plaintiffs in this action, neither Fridman nor Aven can properly be labeled a “mere[] . . . officer or

stakeholder” in their companies. Plaintiffs are, collectively, controlling shareholders of Alfa Bank

and continue to collectively own and control Alfa Group. Their jointly held authority was never

legitimately in dispute.

            B. Defendants’ Persistent Attempts over Four Months to Persuade Plaintiffs to
               Fulfill Their Legal Duty to Produce the Documents Were More Than
               Adequate under the Federal and Local Rules.

        It is baseless to argue, as Plaintiffs now do, that Defendants filed the motions to compel

before attempting to obtain the discovery without court action. See Opposition at 22-23. For

months, Defendants’ counsel engaged with Plaintiffs’ counsel on the production of Plaintiffs’

documents at Alfa, but Plaintiffs’ counsel refused to fulfill their Rule 34 obligations. Instead,




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Plaintiffs’ counsel and Alfa’s counsel inappropriately joined together to pressure Defendants’

counsel to seek Plaintiffs’ documents from non-party Alfa—not Plaintiffs. Plaintiffs now absurdly

argue that Defendants should be penalized because Defendants’ counsel did not follow Plaintiffs’

counsel’s plan, notwithstanding Defendants’ counsel’s extensive efforts to engage Plaintiffs’

counsel on the subject.

       This case bears no resemblance whatsoever to the case Plaintiffs attempt to liken it to,

Marsch v. Rensselaer County, 218 F.R.D. 367 (N.D.N.Y. 2003).5 See Opposition at 23. In Marsch,

defense counsel faxed plaintiff’s counsel a letter asking the plaintiff to consent to sit for a follow-

up psychiatric examination. 218 F.R.D. at 369. Seven days later, without attempting any further

communications with plaintiff’s counsel, the defendants filed a Rule 35 motion to compel the

plaintiff to submit to an examination. Id. The district court, after granting the Rule 35 motion,

declined to order an award of costs and attorney’s fees under Rule 37(a), explaining that such an

award was not warranted “[w]here, as here, the moving party has sent a single letter to opposing

counsel and taken no further steps to confer on the issue.” Id. at 372.

       To say that Defendants’ extensive outreach to Plaintiffs’ counsel stands in sharp contrast

to the lone fax in Marsch would be an understatement. Defendants, here, engaged in roughly four

months of back-and-forth communications with Plaintiffs’ counsel in hopes of resolving this issue

amicably. See Ltr. from J. Levy to A. Lewis (Feb. 19, 2020), ECF No. 78-7, at 5-6 (asking Plaintiffs

to “[p]lease clarify whether any of the Plaintiffs have the legal right to obtain responsive


5
  Inexplicably, Plaintiffs also cite to Board of Education of Evanston Township High School
District No. 202 v. Admiral Heating & Ventilating, Inc., 104 F.R.D. 23 (N.D. Ill. 1984). That case,
though, was not even decided under Rule 37(a)(5)(A). There, in contrast with the circumstances
here, the motion to compel was granted in part and denied in part, leaving the court to decide
whether, as a matter of discretion, to “apportion the reasonable expenses incurred in relation to the
motion among the parties and persons in a just manner” under a precursor of Rule 37(a)(5)(C).
104 F.R.D. at 37 (quoting Fed. R. Civ. P. 37(a)(4) (1981)).


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documents from Alfa or any of the Other Entities”); Ltr. from J. Levy to A. Lewis (Apr. 16, 2020),

ECF No. 78-10, at 7-9 (reiterating Defendants’ position that the requested corporate documents

were in Plaintiffs’ possession, custody, or control and cautioning that failure to produce the

documents would force Defendants to file a motion to compel); Ltr. from J. Levy to A. Lewis

(Apr. 29, 2020), ECF No. 78-12, at 3 (restating Defendants’ position and requesting

communications between Plaintiffs and the companies regarding access to the documents); Ltr.

from J. Levy to A. Lewis (May 22, 2020), ECF No. 78-15, at 5-6 (same); Ltr. from J. Levy to A.

Lewis (June 10, 2020), ECF No. 78-18, at 10-11 (advising of Defendants’ intent to file a motion

to compel and seeking to schedule a Rule 7(m) conference). Those communications culminated

with a Rule 7(m) conference on June 11, 2020. See ECF No. 78, at 2 n.2. Defendants’ efforts to

resolve the dispute were more than adequate under the Local Rules, and there is no reason why

anything further should have been required under Rule 37(a)(5)(A).

         Nor is this an example where “both sides have contributed materially to the protraction of

[the] discovery dispute,” Bd. of Educ. of Evanston Twp. High Sch. Dist. No. 202 v. Admiral Heating

& Ventilating, Inc., 104 F.R.D. 23, 37 (N.D. Ill. 1984), Opposition at 23, as Plaintiffs calculatingly

tried to pawn Defendants off onto Alfa to negotiate Plaintiffs’ Rule 34 obligations. The failure to

reach an agreement here was Plaintiffs’ failure alone. Nevertheless, Plaintiffs argue yet again that

Defendants should have sought the documents through third-party discovery. See Opposition at 23

(chiding Defendants for their “stubbornness”). The Court’s March 30 ruling, however, vindicates

Defendants’ position. Plaintiffs had no justification for refusing to fulfill their Rule 34 obligations.

   II.      Plaintiffs’ Opposition Ignores the Primary Relief Sought by Defendants’ Second
            Motion to Compel That the Court Granted in Full.

         Plaintiffs make only passing reference to the primary relief sought by Defendants’ second

Motion to Compel, for which Defendants also seek reasonable fees under Rule 37(a)(5)(A). See



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Defs.’ Mem. at 2, 10-13, 16-17, 25, 28-29; Opposition at 10, 25. See generally ECF Nos. 94, 105,

106. The issue that Defendants’ second motion to compel sought to resolve was that Plaintiffs had

refused to review and produce documents relevant to Plaintiffs’ public figure status and

Defendants’ interpretations of the meaning of the alleged defamatory statements in CIR 112.6

        Defendants are entitled to discovery “regarding any nonprivileged matter that is relevant

to any party’s claim or defense,” Fed. R. Civ. P. 26(b)(1) (emphasis added), but Plaintiffs only

produced documents relevant to Plaintiffs’ claims and Plaintiffs’ theory of the case, including their

insistence that only publicly available documents are relevant to Plaintiffs’ public figure status and

that the vast majority of relevant discovery bearing on the truth or falsity of CIR 112 should be

limited to 2016.7 Defendants moved to compel Plaintiffs to collect, search, and produce documents

relevant to Defendants’ interpretations of those issues. See ECF No. 94 at 8-9 (quoting Plaintiffs’

Answer to Interrog. No. 2); id. at 32-34 (objecting to Plaintiffs’ refusal to produce a variety of

relevant public figure evidence generated prior to 2016); see also ECF No. 106 at 5-8. In addition

to seeking relief from Plaintiffs’ broad and unsupported objection to producing any documents

relating to Plaintiffs’ conduct prior to 2016, Defendants stressed to the Court that Plaintiffs’

searches for material relevant to the substantial truth of the statements CIR 112 must not be limited

to documents that literally describe criminal behavior. ECF No. 106 at 5-9. In both their briefing

and correspondence with Plaintiffs, Defendants explained that CIR 112 described conduct much

broader than criminal conduct, and Plaintiffs were required to collect, review and produce


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  Plaintiffs’ motion became necessary after Plaintiffs refused, over the course of months, to
confirm that they had searched their documents for material relevant to Defendants’ affirmative
defenses and relevant to Defendants’ interpretation of CIR 112. See Defs.’ Mem. at 10-12.
7
  Ltr. from A. Lewis to J. Levy (Apr. 24, 2020), ECF No. 78-11, at 2 (“[P]re-2016 documents cannot,
by definition, be relevant to any issues in this litigation, aside from the truth or falsity of the Govorun-
related defamatory statement. For instance, pre-2016 documents are not relevant to the question of
whether Plaintiffs are ‘limited public figures.’”).


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documents relating to, inter alia: any “favors” or transactions between Alfa and Plaintiffs, on one

hand, and Putin and the Kremlin, on the other; “Kremlin-Alpha Co-Operation”; “continuing

sensitivity of the PUTIN-Alpha relationship”; and the “history and current state” of that

relationship. ECF No. 94 at 17-22; ECF No. 106 at 5-9. See also Ltr. from J. Levy to A. Lewis

(Apr. 16, 2020), ECF No. 78-10, at 3

       Opposing Defendants’ motion, Plaintiffs never denied that they had failed to incorporate

Defendants’ interpretations of CIR 112’s statements when reviewing and producing their

documents. See generally ECF No. 105. Plaintiffs represented only that they had agreed to review

their documents for relevance to the truth or falsity of CIR 112 (subject to objections and an

absurdly narrow interpretation of the statements in CIR 112) and told the Court that they were not

withholding any documents responsive to Defendants’ requests. ECF No. 105 at 7-9.8 The Court

rejected Plaintiffs’ claims, granted Defendants’ motion in full, and ordered Plaintiffs to collect,

review, and produce documents that relate to Defendants’ defenses in this case.

       Now opposing the instant motion, in an attempt to obfuscate their own misconduct and

downplay the Court’s holding, Plaintiffs represent to the Court that “Plaintiffs were not

withholding such documents based on a relevance objection.” Opposition at 25 (emphasis in

original). This is demonstrably false.




8
  Before the Court, Plaintiffs announced they had performed searches for responsive documents
created prior to 2016 and found none “evidencing any misconduct or corruption involving
themselves and Putin at any time.” ECF No. 105 at 9. This representation is an example of the
vague discovery responses from Plaintiffs that made Defendants’ motion a necessity. The alleged
defamatory statements in CIR 112 do not even include the words “misconduct” or “corruption.”
Nor do they specifically refer to “misconduct or corruption involving [Plaintiffs] and Putin.” Yet
Plaintiffs, offering no further detail about their review, argued this “search” fully discharged their
obligations.


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         Plaintiffs’ representation in their Opposition is directly contradicted by their discovery

responses in this case. Plaintiffs agreed to search for documents bearing on the truth or falsity of

CIR 112 “subject to Plaintiffs’ General Objections,” and later added as a general objection that

“Plaintiffs object to requests that they produce documents . . . prior to 2016, except as to documents

relating to the allegation of bribery in the 1990s involving Oleg Govorun.”9 When Defendants

pressed Plaintiffs to identify the documents they were withholding on the basis of that objection,

Plaintiffs wrote, “Plaintiffs did not identify responsive documents that may exist dated outside the

initial date ranges, as set forth in the General Statements and Objections, as being withheld.” Ltr.

from A. Lewis to J. Levy (June 25, 2020), ECF No. 94-5, at 8. To translate that deliberately opaque

construction: Plaintiffs said they did not technically withhold documents because Plaintiffs did not

produce documents they did not consider relevant, and, in turn, they did not identify irrelevant

documents as being withheld. This claim was—and is—meaningless.10

         Plaintiffs never confirmed then, and do not confirm now, that they collected, searched and

reviewed their documents for relevance to Defendants’ affirmative defenses. Instead, Plaintiffs

bury their substantive response to Defendants’ second motion, claim they never withheld any

documents Defendants would have deemed relevant, and accuse Defendants of trying to “gin up

an additional dispute that did not exist.” Opposition at 25. Plaintiffs, here, attempt to confuse the

Court with circular language about documents they withheld11 and offer no citation to case law



9
    Pls.’ Resps. and Supp. Resps., ECF No. 78-5, at RFPs 1-8, 10; Supp. Resp. at 2.
10
  See Spendlove v. RapidCourt, LLC, No. 3:18-CV-856, 2019 WL 7143664, at *5 (E.D. Va. Dec.
23, 2019) (“[A] party may not unilaterally withhold information or documents that are responsive
to a discovery request by stating that ‘all relevant, non-privileged’ responsive information or
documents have been, or will be, produced.” (quoting Johnson v. Kraft Foods N. Am., Inc., 236
F.R.D. 535, 541 (D. Kan. 2006))).
11
  Collecting and reviewing all relevant documents in their “personal possession,” Opposition at
25, Plaintiffs produced 59 personal e-mails and stray documents from Plaintiffs Fridman and Aven.

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justifying their previous responses in discovery. Id. Plaintiffs’ vague and evasive response is

further confirmation that they had no legal or factual justification for refusing to review and

produce documents relevant to Defendants’ affirmative defenses. Moreover, Plaintiffs’ persistent

delusion that last year’s discovery responses satisfied their discovery obligations and complied

with Rule 26(b)(1) exemplifies why Defendants had to seek relief from this Court.

   III.      Plaintiffs Withheld Additional Categories of Responsive Documents and Fail to
             Demonstrate That Any of Their Objections Were Justified by Either Law or Fact.

          Plaintiffs fail to demonstrate that they were substantially justified in any of their other

efforts to obstruct discovery.

          First, Plaintiffs withheld production of the Aven v. Orbis documents in defiance of their

own definition of “publicly available” documents; Plaintiffs’ continued attempts to rely on a

misstatement of their own definition of “publicly available” do not justify their refusal to produce

the UK documents. Opposition at 11, 28-29.

          Second, Plaintiffs also withheld Petr Aven’s Mueller Investigation documents by citing

irrelevant case law and have again failed to point to a single case that supports their position.

Opposition at 29-30.

          Third, Plaintiffs reiterate their objections to producing the Kroll Report or the Spanish

Investigation documents and argue those positions have been vindicated because Defendants failed

to cite facts confirming their relevance. Opposition at 26-28. Defendants, however, are not required

to introduce facts further establishing the documents’ relevance to the claims in this case, as the

Court has already held that this evidence is relevant and discoverable; Defendants have

demonstrated that these requests were not overly burdensome and are relevant to their affirmative

defenses. Plaintiffs’ argument, failing to show that Defendants’ requests were “burdensome,

overly broad, vague or outside the scope of discovery,” United States v. Kellogg Brown & Root



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Servs., Inc., 284 F.R.D. 22, 33 (D.D.C. 2012), instead raises concern that Plaintiffs still do not

comprehend the proper scope of discoverable evidence in this case.

   A. Plaintiffs fail to demonstrate they were substantially justified in withholding
      production of their Aven v. Orbis documents.

       Plaintiffs have no justification for withholding their documents from another proceeding

concerning CIR 112, Aven v. Orbis. Plaintiffs appear to have withheld these documents because

producing them in this case would have exposed that they have access to their Alfa documents,

see supra at 6-8, and forcing Defendants to spend even more money on lawyers to obtain

documents from a foreign proceeding is part and parcel of Plaintiffs’ use of this proceeding

specifically and the US courts generally to harass Defendants.

       Plaintiffs, who claim they had no obligation to produce publicly available documents,

misstate the parties’ agreed-upon definition of “publicly available” and ignore multiple places in

Defendants’ motion in which Defendants highlighted that definition explicitly. Cf. Opposition at

11; Defs.’ Mem. at 7-8, 26-28. Plaintiffs were the ones who defined the parameters of “publicly

available” documents in this case, and by their own definition, “publicly available” meant

“documents that are freely available online or are available through a service such as Lexis or

Westlaw.” Ltr. from A. Lewis to J. Levy (Mar. 12, 2020), ECF No. 78-8, at 10. The UK documents

did not fall within this definition, yet Plaintiffs repeatedly insisted that because these documents

were theoretically available to Defendants, Defendants—at significant expense—were required to

obtain UK counsel, submit an application to the High Court, and undertake the onerous process of

obtained these documents in London. See Defs.’ Mem. at 7-8. Reiterating that sentiment in

opposition to the instant motion, Plaintiffs have nothing more to offer the Court than selective

editing that omits contradictory language from Plaintiffs’ own counsel. Opposition at 11 (citing an




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April 16, 2020, letter from Defendants’ counsel and omitting the portion of that letter that explicitly

incorporates the definition and terms proposed by Plaintiffs’ counsel on March 12, 2020).

       Plaintiffs offer only one case in support of their position, Dushkin Publishing Group, Inc.

v. Kinko’s Service Corp., 136 F.R.D. 334 (D.D.C. 1991), and then misconstrue its holding. The

Dushkin court denied the plaintiff’s motion to compel requested records that were filed publicly

in the Southern District of New York. The Court found that those records were available to either

party upon request, and “[i]t is well established that discovery need not be required of documents

of public record which are equally accessible to all parties.” Dushkin Pub., 136 F.R.D. at 335

(D.D.C. 1991) (quotation and citation omitted). Here, the Aven v. Orbis documents were not

“equally accessible to all parties.” Id. Plaintiffs had them in their possession, and Defendants did

not. Defendants could not access them online. Defendants could not access them in the United

States. Defendants would have been required to retain counsel in the UK, where it is not a party to

any proceeding there, in order to apply for access with a UK court. Plaintiffs were obligated to

produce these documents, and their failure to do so was not substantially justified. Their attempts

to misconstrue holdings and misstate the parties’ agreements do not demonstrate otherwise.12 “The

Federal Rules do not shield publicly available documents from discovery merely because of their

accessibility. A limitation of this nature would lead to patently absurd consequences.” Shatsky v.


12
   Plaintiffs also attempt to create a false equivalence between the parties’ conduct by stating that
Defendants refused to produce unsealed portions of Peter Fritsch’s deposition in an alternate case.
Opposition at 29. To clarify: portions of Mr. Fritsch’s deposition transcript had been sealed
pursuant to a protective order issued in parallel litigation in the Southern District of Florida.
Defendants directed Plaintiffs to contact the parties’ or the court to obtain the unsealed portions
they requested. Incidentally, Defendants’ discovery response is supported by a holding in the same
case cited (and misconstrued) by Plaintiffs in their Opposition. See Dushkin, 136 F.R.D. at 335
(“As for those documents shielded by . . . protective order, this court as a matter of comity respects
the order issued by the District Court for the Southern District of New York . . . To the extent that
the plaintiff should desire to obtain those additional documents, that request should be addressed
to the issuing court in the Southern District of New York.”).


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Syrian Arab Republic, 312 F.R.D. 219, 223 (D.D.C. 2015) (Leon, J.) (sanctioning the party who

failed to timely produce publicly available documents).

     B. Plaintiffs fail to demonstrate their withholding of the Kroll Report and the Spanish
        government’s investigation documents was substantially justified.

        The Kroll Report is relevant to Defendants’ affirmative defense that CIR 112 is

substantially true. In a case where Plaintiffs argue that their relationship with the Kremlin spanning

more than 25 years has not involved any corruption, the Kroll Report helps show that corruption

was endemic among Russian officials operating in the post-Soviet landscape during the years in

which Aven and Putin served together in Russian government. Aven himself testified that “this

whole report [is] devoted to some former Soviet Union bureaucrats. . . . They were former

ministers, some high-level bureaucrats, and Kroll have found some of the accounts outside of the

country.” Aven Dep. 245:9-13, Dec. 9, 2020. The report was commissioned by either Aven or his

mentor and direct superior in the Russian Government, Yaigor Gaidar; in either case, the report

demonstrates that Aven had personal knowledge of widespread corruption in Russian government

in 1992.13 This evidence also bears on the substantial truth of the CIR 112 statement that Alfa

obtained kompromat on Putin during an era in which Aven and Putin both served in Russian

government. Plaintiffs were obligated to produce a copy of this report in light of public reports

describing its contents14 and Aven’s testimony in the United Kingdom, in which he proclaimed

that he was “the only one who has in my hands Kroll report.” See ECF No. 94 at 22. Plaintiffs,


13
   Cf. Aven Dep. 245:9-13, Dec. 9, 2020 (“Q Did you recommend Kroll for this investigation? A
No, I did not. They came through -- Gaidar brought them in.”); Catherine Belton, Putin’s People
60 (2020) (“‘They didn’t find anything,’ said Pyotr Aven, the government minister whose initiative
it was to bring in Kroll in the first place.”).
14
  See, e.g. Karen Dawisha, Putin’s Kleptocracy: Who Owns Russia? 19, 118 (2014), ECF No. 94-
11; Catherine Belton, Putin’s People 60 (2020); Celestine Bohlen, U.S. Company to Help Russia
Track Billions, N.Y. Times (Mar. 3, 1992), https://www.nytimes.com/1992/03/03/world/us-
company-to-help-russia-track-billions.html.


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now reiterating relevance objections long since discarded by the Court, continue to rely on their

own interpretation of their documents, their own interpretation of the statements in CIR 112, and

their own interpretation of the core issues in this case. Plaintiffs’ insistence that this evidence

should never have been discoverable, Opposition at 27, raises concern that Plaintiffs continue to

misunderstand their discovery obligations.

       Similarly, the Spanish Investigation documents arise from an investigation in which

Spanish authorities allege that Plaintiff Fridman, inter alia, made payments totaling more than $20

million to the son of the Russian Minister of the Interior in exchange for services that were not

worth “a tenth of that,” and that such payments began in 2013. Spanish Criminal Complaint

Against Vimpelcom (Aug. 19, 2016), ECF No. 94-12, ¶ 2. Plaintiffs justify their refusal to produce

documents related to this investigation by claiming that the “wholly unsubstantiated allegations to

Spanish prosecutors against Plaintiff Fridman . . . bear no relation to the statements at issue in this

case.” Opposition at 28. Plaintiffs erroneously insist that documents relating to a foreign

government’s investigation into allegations that Plaintiff Fridman bribed the family member of a

high-ranking Russian minister—conduct that is directly relevant to the favors between Alfa and

the Kremlin, described in CIR 112—are not discoverable and “bear no relation to the statements

at issue in this case.” Id. This position speaks to Plaintiffs’ continued failure to comprehend their

discovery obligations in this action. Documents relating to an investigation of criminal wrongdoing

by Plaintiffs and Alfa are relevant to the truth or falsity of CIR 112, even based on Plaintiffs’

narrow interpretations of its allegedly defamatory statements. See Pls.’ Suppl. Resp. to Interrog.

No. 2 (arguing that CIR 112’s discussion of “significant favours” refers only to “corruption and

bribery”). Defendants requested these documents and Plaintiffs had no justification for

withholding them. Relevant discovery “encompass[es] any matter that bears on, or that reasonably




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could lead to other matter that could bear on, any issue that is or may be in the case,” Oppenheimer

Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978) (citing Hickman v. Taylor, 329 U.S. 495, 501

(1947)).

     C. Plaintiffs’ misreading of Rule 6(e) does not justify Petr Aven’s refusal to produce
        documents relating to the Mueller Investigation.

        Plaintiffs argue that Plaintiff Aven’s Mueller Investigation documents were privileged, that

“case law fully supports” that claim, and that the Court, ordering production of Aven’s Mueller

Investigation documents, “must have concluded that Defendants had made a showing of necessity

that overcame Plaintiff Aven’s right to resist disclosure.” Opposition at 29-30. This is pure fantasy;

Plaintiffs presuppose the availability of the so-called “grand jury privilege” to a civil plaintiff who

initiates litigation and puts in issue his prior submissions to the government. Claiming the grand

jury privilege under these circumstances is neither supported “fully by law” nor supported by any

law. Plaintiffs failed to cite a single case in which a civil plaintiff successfully invoked the grand

jury privilege to foreclose production of grand jury materials. Plaintiffs, citing cases in which third-

party witnesses or civil defendants were protected against compulsory disclosure of their grand

jury submissions, nevertheless attempted to broaden the protections afforded by Federal Rule of

Criminal Procedure 6(e) in a strained attempt to block the production of material that Aven,

himself, put in issue by initiating this litigation. Opposition at 30; Defs.’ Mem. at 8, 32

        Plaintiff Aven cooperated with the Mueller Investigation while suing Defendants to contest

the truth or falsity of CIR 112, a document which contains allegedly defamatory statements that

align with the Mueller Investigation’s published findings relating to Aven’s conduct in 2016.15 Yet




15
  “Aven told the Office that he met on a quarterly basis with Putin . . . According to Aven, although
Putin did not expressly direct him to reach out to the Trump Transition Team, Aven understood
that Putin expected him to try to respond to the concerns he had raised.” Special Counsel Robert

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when Defendants read the Special Counsel’s Report and expressed that any materials provided to

the Special Counsel’s Office were obviously relevant to this case and should be produced,16

Plaintiffs refused. First Plaintiffs incorrectly argued that the requested materials were outside the

temporal scope of discovery, then they incorrectly argued that the materials were “immune from

production” pursuant to Rule 6(e) principles of grand jury secrecy,17 and finally they attempted to

graft an inapposite grand jury privilege onto the instant facts—all to foreclose production of

discovery that bears directly on the statements Plaintiffs allege are false and defamatory. A party’s

conduct in discovery is substantially justified when it is “justified to a degree that could satisfy a

reasonable person.” Pierce v. Underwood, 487 U.S. 552, 565 (1988). Plaintiffs’ refusal to produce

their Mueller Investigation documents failed to meet the standard.

      IV.      Plaintiffs Have Failed to Meet Their Burden of Establishing That an Award of
               Expenses under Rule 37(a)(5)(A) Would Be Unjust under the Circumstances.

            While Plaintiffs try to evade their obligations under Rule 37(a)(5)(A) by showing that

“other circumstances make an award of expenses unjust,” Fed. R. Civ. P. 37(a)(5)(A)(iii), that is

simply not possible here. Plaintiffs’ failure to produce responsive documents was not an innocent

mistake;18 it was a deliberate choice. Plaintiffs, with the aid of counsel, made a strategic decision




S. Mueller, III, Report On The Investigation Into Russian Interference In The 2016 Presidential
Election (“Mueller Report”) (2019), ECF No. 94-13, at 146-147.
16
     Ltr. from J. Levy to A. Lewis (June 30, 2020), ECF No. 94-3, at 4.
17
   Ltr. from A. Lewis to J. Levy (Aug. 4, 2020), ECF No. 94-4, at 4. Cf. In re Grand Jury, 490
F.3d 978, 989 (D.C. Cir. 2007) (“A grand jury witness is legally free to tell, for example, his or
her attorney, family, friends, associates, reporters, or bloggers what happened in the grand jury . .
. the witness can stand on the courthouse steps and tell the public everything the witness was asked
and answered.”).
18
   Cf. Gordon v. Borigini, 297 F.R.D. 1, 3 (D.D.C. 2013) (determining it would be “unjust” to
award expenses under Rule 37(a)(5)(B), as movant’s counsel had made an innocent error in filing
the motion to compel in the wrong court).


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to conceal documents, and there is no legitimate reason why they should be excused from the

consequences of that decision.

       Despite Plaintiffs’ arguments to the contrary, see Opposition at 31-32, an award of

expenses does not become “unjust” simply because the Court, in a separate ruling, granted in part

Plaintiffs’ motion on an unrelated issue.19 The “great operative principle” of Rule 37(a)(5)(A) is

that, upon a decision to grant a motion to compel in full, the loser of that specific motion is to bear

the victor’s costs in bringing the motion. Rickels v. City of South Bend, 33 F.3d 785, 786 (7th Cir.

1994) (quoting Wright & Miller, 8 Federal Practice & Procedure § 2288 at 787 (1970)); see Fed.

R. Civ. P. 37(a)(5)(A) (stating that the prevailing party is entitled to expenses incurred in making

“the motion”). This principle exists both to “deter discovery abuses” and to “compensate the

prevailing party for expenses it would not have incurred had the sanctioned party conducted itself

properly.” Spirit Realty, L.P. v. GH&H Mableton, LLC, 319 F.R.D. 474, 475 (S.D.N.Y. 2017).

Here, Plaintiffs’ strategy of concealment necessitated two motions to compel, both of which have

been granted in full. Plaintiffs should shoulder the cost of their own strategic choices. Such an

outcome is entirely just and consistent with the purpose of Rule 37(a)(5)(A).

                                          CONCLUSION

       For the foregoing reasons, Defendants respectfully request that the Court grant their Motion

in full and order Plaintiffs or their counsel to pay the reasonable fees incurred by Defendants in

moving to compel discovery.




19
  Plaintiffs’ claim that they, too, are “entitled” to fees for their motion to compel is wrong as a
matter of law. The Court did not grant Plaintiffs’ motion in full. Therefore, Rule 37(a)(5)(A) is
inapplicable. See Baylor v. Mitchell Rubenstein & Assocs., P.C., 130 F. Supp. 3d 326, 336-37
(D.D.C. 2015) (“[P]laintiff’s claim that she is ‘entitled’ to fees under Rule 37(a)(5)(A) is simply
incorrect as a matter of law, as her motion to compel was at best only partially successful.”).


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Dated: July 27, 2021                      /s/ Joshua A. Levy

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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 27, 2021, the foregoing memorandum was filed using

CM/ECF, which serves a copy on all counsel of record.




                                               /s/ Joshua A. Levy
                                               Joshua A. Levy




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